Case 1:20-cv-05810-HG-TAM Document 30 Filed 06/21/22 Page 1 of 7 PageID #: 133




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK (BROOKLYN DIVISION)
------------------------------------------------------- x
KIRYAT BELZ JERUSALEM,
                                                            DOCKET NO. 20-cv-05810-HG-TAM
                      Plaintiff,

          -against-
                                                            Declaration of Nolan B. Tully In Support
MASSACHUSETTS MUTUAL LIFE                                   of MassMutual’s Motion for Summary
INSURANCE COMPANY,                                          Judgment

                       Defendants.
------------------------------------------------------- x

          I, NOLAN B. TULLY, Esq., being of full age, do hereby declare as follows:

          1.     I am a partner at the law firm of Faegre Drinker Biddle & Reath LLP, which

represents Defendant Massachusetts Mutual Life Insurance Company (“MassMutual”) in this

matter.

          2.     I am admitted to practice in the Federal District Court for the Eastern District of

New York.

          3.     I respectfully submit this declaration in support of MassMutual’s Motion for

Summary Judgment.

          4.     Attached hereto as Exhibit 1 is a true and correct excerpted copy of the transcript

of the November 23, 2021 deposition of Yosef Gold in this matter, who testified both in his

individual capacity and on behalf of Kiryat Belz Jerusalem.

          5.     Attached hereto as Exhibit 2 is a true and correct copy of Plaintiff’s Responses to

Defendant’s Interrogatories, which were dated May 26, 2021.

          6.     Attached hereto as Exhibit 3 is a true and correct excerpted copy of a Flexible

Premium Adjustable Life Insurance Policy, portions of Magdalena Knopfler’s application for

Policy No. 15624884, and change of beneficiary documents. These documents were produced in
Case 1:20-cv-05810-HG-TAM Document 30 Filed 06/21/22 Page 2 of 7 PageID #: 134




this matter with bates numbers MM/KIRYAT BELZ_001240 – MM/KIRYAT BELZ_001295.

       7.     Attached hereto as Exhibit 4 is a true and correct copy of a Flexible Premium

Adjustable Life Insurance Policy, portions of Magdalena Knopfler’s application for Policy No.

15629027, and change of beneficiary documents. These documents were produced in this matter

with bates numbers MM/KIRYAT BELZ_001849 – MM/KIRYAT BELZ_001910.

       8.     Attached hereto as Exhibit 5 is a true and correct excerpted copy of the transcript

of the November 23, 2021 deposition of Mendy Monhiet, who testified in his individual

capacity.

       9.     Attached hereto as Exhibit 6 is a true and correct copy of a check dated October 1,

2016 made out to MassMutual for Policy No. 15624884, which was produced in this matter with

bates number MM/KIRYAT BELZ_000076.

       10.    Attached hereto as Exhibit 7 is a true and correct copy of a check dated December

28, 2016 made out to MassMutual for Policy No. 15624884, which was produced in this matter

with bates number MM/KIRYAT BELZ_000077.

       11.    Attached hereto as Exhibit 8 is a true and correct copy of a check dated June 25,

2017 made out to MassMutual for Policy No. 15624884, which was produced in this matter with

bates number MM/KIRYAT BELZ_00080.

       12.    Attached hereto as Exhibit 9 is a true and correct copy of a Policy Annual Report

dated July 3, 2017 for Policy No. 15624884, which was produced in this matter with bates

numbers MM/KIRYAT BELZ_000429 – MM/KIRYAT BELZ_000432.

       13.    Attached hereto as Exhibit 10 is a true and correct copy of a Policy Annual Report

dated July 2, 2018 for Policy No. 15624884, which was produced in this matter with bates

numbers MM/KIRYAT BELZ_000463 – MM/KIRYAT BELZ_000466.




                                               -2-
Case 1:20-cv-05810-HG-TAM Document 30 Filed 06/21/22 Page 3 of 7 PageID #: 135




       14.    Attached hereto as Exhibit 11 is a true and correct copy of a check dated June 1,

2016 made out to MassMutual for Policy No. 15629027, which was produced in this matter with

bates numbers MM/KIRYAT BELZ_001009 – MM/KIRYAT BELZ_001011.

       15.    Attached hereto as Exhibit 12 is a true and correct copy of a Policy Annual Report

dated September 6, 2016 for Policy No. 15629027, which was produced in this matter with bates

numbers MM/KIRYAT BELZ_001013 – MM/KIRYAT BELZ_001016.

       16.    Attached hereto as Exhibit 13 is a true and correct copy of a check dated June 1,

2017 made out to MassMutual for Policy No. 15629027, which was produced in this matter with

bates numbers MM/KIRYAT BELZ_001041 – MM/KIRYAT BELZ_001043.

       17.    Attached hereto as Exhibit 14 is a true and correct copy of Policy Annual Report

dated September 5, 2017 for Policy No. 15629027, which was produced in this matter with bates

numbers MM/KIRYAT BELZ_001047 – MM/KIRYAT BELZ_001050.

       18.    Attached hereto as Exhibit 15 is a true and correct copy of a Policy Annual Report

dated July 2, 2019 for Policy No. 15624884, which was produced in this matter with bates

numbers MM/KIRYAT BELZ_000507 – MM/KIRYAT BELZ_000510.

       19.    Attached hereto as Exhibit 16 is a true and correct copy of a Special Notice

MassMutual sent to Kiryat Belz Jerusalem dated July 3, 2019 regarding Policy No. 15624884,

which was produced in this matter with bates numbers MM/KIRYAT BELZ_000511 –

MM/KIRYAT BELZ_000512.

       20.    Attached hereto as Exhibit 17 is a true and correct copy of a Special Notice from

MassMutual to Kiryat Belz Jerusalem dated August 8, 2019 regarding Policy No. 15624884,

which was produced in this matter with bates numbers MM/KIRYAT BELZ_000513 –

MM/KIRYAT BELZ_000514.




                                              -3-
Case 1:20-cv-05810-HG-TAM Document 30 Filed 06/21/22 Page 4 of 7 PageID #: 136




       21.    Attached hereto as Exhibit 18 is a true and correct copy of a Termination Notice

from MassMutual to Kiryat Belz Jerusalem dated September 6, 2019 regarding Policy No.

15624884, which was produced in this matter with bates number MM/KIRYAT BELZ_000517.

       22.    Attached hereto as Exhibit 19 is a true and correct copy of a Special Notice from

MassMutual to Kiryat Belz Jerusalem dated June 5, 2019 regarding Policy No. 15629027, which

was produced in this matter with bates numbers MM/KIRYAT BELZ_001121 – MM/KIRYAT

BELZ_001122.

       23.    Attached hereto as Exhibit 20 is a true and correct copy of a Special Notice from

MassMutual to Kiryat Belz Jerusalem dated July 8, 2019 regarding Policy No. 15629027, which

was produced in this matter with bates numbers MM/KIRYAT BELZ_001123 – MM/KIRYAT

BELZ_001124.

       24.    Attached hereto as Exhibit 21 is a true and correct copy of a Termination Notice

from MassMutual to Kiryat Belz Jerusalem dated August 6, 2019 regarding Policy No.

15629027, which was produced in this matter with bates number MM/KIRYAT BELZ_001125.

       25.    Attached hereto as Exhibit 22 is a true and correct copy of a check dated July 15,

2019 made out to MassMutual for Policy No. 15629027, which was produced in this matter with

bates numbers MM/KIRYAT BELZ_001126 – MM/KIRYAT_001127.

       26.    Attached hereto as Exhibit 23 is a true and correct copy of a check dated July 15,

2019 made out to MassMutual for Policy No. 15624884, which was produced in this matter with

bates numbers MM/KIRYAT BELZ_000518 – MM/KIRYAT BELZ_000519.

       27.    Attached hereto as Exhibit 24 is a true and correct copy of a Northfield Bank

statement for account -4670 dated July 31, 2019, which was produced in this matter with bates

numbers NORTHFIELD_002135 – NORTHFIELD_002138.




                                              -4-
Case 1:20-cv-05810-HG-TAM Document 30 Filed 06/21/22 Page 5 of 7 PageID #: 137




       28.    Attached hereto as Exhibit 25 is a true and correct copy of a Northfield Bank

statement for account -4670 dated August 30, 2019, which was produced in this matter with

bates numbers NORTHFIELD_002161 – NORTHFIELD_002163.

       29.    Attached hereto as Exhibit 26 is a true and correct copy of a Northfield Bank

statement for account -4670 dated September 30, 2019, which was produced in this matter with

bates numbers NORTHFIELD_002178 – NORTHFIELD_002180.

       30.    Attached hereto as Exhibit 27 is a true and correct copy of a Northfield Bank

statement for account -4670 dated October 31, 2019, which was produced in this matter with

bates numbers NORTHFIELD_002203 – NORTHFIELD_002205.

       31.    Attached hereto as Exhibit 28 is a true and correct copy of a Northfield Bank

statement for account -4670 dated November 29, 2019, which was produced in this matter with

bates numbers NORTHFIELD_002224 – NORTHFIELD_002227.

       32.    Attached hereto as Exhibit 29 is a true and correct excerpted copy of the February

3, 2022 deposition of Denise Harriman on behalf of MassMutual in this matter.

       33.    Attached hereto as Exhibit 30 is a true and correct copy of a Transaction Error

Report for Non-Variable Policies dated November 13, 2019 related to Policy No. 15624884,

which was produced in this matter with bates label MM/KIRYAT BELZ_000522.

       34.    Attached hereto as Exhibit 31 is a true and correct copy of a Transaction Error

Report for Non-Variable Policies dated November 14, 2019 related to Policy No. 15629027,

which was produced in this matter with bates number MM/KIRYAT BELZ_001130.

       35.    Attached hereto as Exhibit 32 is a true and correct copy of a transcription of a call

recording between Yosef Gold and Cynthia Tolliver, the audio version of which was produced in

this matter with bates number MM/KIRYAT BELZ_1285.




                                               -5-
Case 1:20-cv-05810-HG-TAM Document 30 Filed 06/21/22 Page 6 of 7 PageID #: 138




       36.     Attached hereto as Exhibit 33 is a true and correct copy of an email dated

December 19, 2019 between Cynthia Tolliver of MassMutual and Kiryat Belz regarding Policy

No. 15624884 and Policy No. 15629027, which was produced in this matter with bates number

MM/KIRYAT BELZ_001131.

       37.     Attached hereto as Exhibit 34 is a true and correct copy of a certificate of death

for Magdalena Knopfler, which was produced in this matter with bates number MM/KIRYAT

BELZ_000529.

       38.     Attached hereto as Exhibit 35 is a true and correct copy of a Life Insurance Claim

Form for three policies including Policy No. 15624884 and Policy No. 15629027, which was

signed by Yosef Gold on June 11, 2020. This document was produced in this matter with bates

numbers MM/KIRYAT BELZ_000524 – MM/KIRYAT BELZ_000527.

       I certify, under penalty of perjury, that the foregoing statements made by me are true and

correct, to the best of my knowledge, information, and belief.

Dated: June 21, 2022                              FAEGRE DRINKER BIDDLE & REATH LLP



                                                  By: /s/ Nolan Tully
                                                     Nolan Tully
                                                     Nolan.Tully@faegredrinker.com
                                                     One Logan Square, Suite 2000
                                                     Philadelphia, PA 19103
                                                     Telephone: +1 215 988 2700
                                                     Facsimile: +1 215 988 2757

                                                  Attorney for Defendant Massachusetts Mutual
                                                  Life Insurance Company




                                                -6-
Case 1:20-cv-05810-HG-TAM Document 30 Filed 06/21/22 Page 7 of 7 PageID #: 139




                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document has been served

on all counsel of record via e-mail on June 21, 2022.


Dated: June 21, 2022                         /s/ Nolan Tully
                                             Nolan Tully




                                               -7-
